B1 (Official Form 1)Case
                     (4/10)    13-30700             Doc 1         Filed 07/31/13              Entered 07/31/13 17:12:33                          Desc Main
                                                           Document
                                    UNITED STATES BANKRUPTCY COURT                            Page 1 of 44
                                                                                                                                       VOLUNTARY PETITION
                                     Northern
                                     __________ District of__________
                                                District of Illinois
 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
  San Juan, Gerardo C.                                                                           San Juan, Elena M.
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                   Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                                  (if more than one, state all):
 xxx-xx-3205                                                                                     xxx-xx-4957
 Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
 4247 N. Western Ave.                                                                            4247 N. Western Ave.
 Chicago, IL                                                                                     Chicago, IL
                                                                      ZIP CODE 60618                                                                          ZIP CODE 60618
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  Cook                                                                                           Cook
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                     ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                           ZIP CODE
                      Type of Debtor                                        Nature of Business                              Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                                     (Check one box.)                                  the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                          ✔       Chapter 7               Chapter 15 Petition for
 ✔      Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in                Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                  Chapter 11              Main Proceeding
        Corporation (includes LLC and LLP)                         Railroad                                              Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                           Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                              Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                                   Other                                                                  Nature of Debts
                                                              ___________________________________                                         (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)                ✔ Debts are primarily consumer              Debts are primarily
                                                                                                                       debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization              § 101(8) as “incurred by an
                                                                      under Title 26 of the United States              individual primarily for a
                                                                      Code (the Internal Revenue Code).                personal, family, or house-
                                                                                                                       hold purpose.”
                                Filing Fee (Check one box.)                                                                       Chapter 11 Debtors
                                                                                                 Check one box:
 ✔      Full Filing Fee attached.                                                                    Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is           Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                     insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 on 4/01/13 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.           -----------------------------------
                                                                                                 Check all applicable boxes:
                                                                                                     A plan is being filed with this petition.
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                          THIS SPACE IS FOR
                                                                                                                                                                 COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
 ✔         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
 ✔
 1-49          50-99          100-199         200-999        1,000-          5,001-         10,001-          25,001-           50,001-          Over
                                                             5,000           10,000         25,000           50,000            100,000          100,000

 Estimated Assets
                                               ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
 Estimated Liabilities
                                               ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
B1 (Official Form 1)Case
                     (4/10)     13-30700            Doc 1          Filed 07/31/13 Entered 07/31/13 17:12:33                                       Desc Main              Page 2
 Voluntary Petition                                                  Document     Page  2Debtor(s):
                                                                                   Name of of 44
 (This page must be completed and filed in every case.)                                Gerardo C. San Juan
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed:
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed:
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                      Case Number:                                     Date Filed:

 District:                                                                                       Relationship:                                   Judge:
                     Northern District of Illinois
                                           Exhibit A                                                                                 Exhibit B
                                                                                                                     (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q)                           whose debts are primarily consumer debts.)
 with the Securities and Exchange Commission pursuant to Section 13 or 15(d) of the
 Securities Exchange Act of 1934 and is requesting relief under chapter 11.)                     I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
                                                                                                 or 13 of title 11, United States Code, and have explained the relief available under
                                                                                                 each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                                 required by 11 U.S.C. § 342(b).

         Exhibit A is attached and made a part of this petition.                                 X     Steven E. Barleben /s/                     07/29/2013
                                                                                                     Signature of Attorney for Debtor(s)       (Date)

                                                                                       Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

         Yes, and Exhibit C is attached and made a part of this petition.

 ✔       No.


                                                                                       Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     ✔       Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

     ✔    Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
                ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                    Document     Page 3 of 44
                                                                                                                                                                                               Pa e 3



                                                                                        s
                     Signature(s) of Debtor(s) (IndividuaVJolnt)                      .' f ~f.!;· ~!i.'                                           Signature of a Foreign Representative
                                                                                       PlffitH              .1
I declare under penalty of peljury that the information provided in this petitio~     IS; .•. ; ".; .                               der penalty of perjury that the information provided in this petition is
and correct                                                                       '                                                          that I am the foreign representative of a debtor       In   a foreign
[If petitioner is an indivi~;)\'hose debts are primarily consumer. de.                                                                     that I am authorized to file this petition.
                                                                                                                                          :t
chosen to file under chap=, 7)daniaware that I may proceed under c '..:'                                                                   "
                                                                                                                                          ·;box:.)
or 13 of title II, United States Code, understand the relief available tb\48i.
chapter, and choose to proceect'under chapter 7.                       ! l":j\"q.
                                                                                                                                          'j':'
                                                                                                                                          lief in accordance with chapter 15 of title I I, United States Code.
[If no anomey represents me and no bankruptcy petition preparer signs the                                                             I    pies of the documents required by II U.S.c. § 1515 are attached
have obtained and read the notice required by II U.S.c. § 342(bbJ'                                                                  ;),

                                                                                 tes~, '.
                                                                                                                                 tto II V.S.C. § 1511, I request relief in accordance with the

                                                             J("
I request r lef In accordance WIthe chapter of title II, fnited S
specified thiS petitIon
                                                                                                                                .of title II specified in this petition. A certified copy of the
                                                                                                                                      ting recognition of the foreign main proceeding is attached

X                           «J
              ~r4
                                                                                                                 (Signature of Foreign Representative)


                           D~btor            ~
X
      SIgnature of JOint                                                                                         (Printed Name of Foreign Representative)

     1ff~§72ff~~ber (if not represented by attorney)

      Date
                                    Signature of Attorney·                                                                     Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                                                           , ~I:J
X     Steven E. Barleben lsi                                                                                                    ,       penalty of perjury that: (I) I am a bankruptcy petition preparer as
     SjgnaOJre ot:Attom~ for Debtor(s)                                                                                              ,U.S.C. § 110; (2) I prepared this document for compensation and have
      ::>1even E. tjarreben                                                                                                         .       r with a copy of this document and the notices and information
                                                                                                                                         : 1 U.S.C. §§ II00b), 11O(h), and 342(b); and, (3) if rules or
                                                                                                                                         •     n promulgated pursuant to II U.s.C § J 10(h) settmg a
     Firm Name                                                                                                                                  ices chargeable by bankruptcy petition preparers, I have given
                                                                                                                                          ,of the maximum amount before preparing any document for filmg
       Chieege, IL SOS1a                                                                                                              .• accepting any fee from the debtor, lIS required in \hilt ~Cl;uon,
                                                                                                                                       19 is attached.

                                                                                                                               AName and title, if any, of Bankruptcy Petition Preparer

     Date                                                                                                        Social.Security number (If the bankruptcy petition preparer is not an
                                                                                                                 individual, state the Social-Security number ot the officer. principal.
'In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                                    responsible person or partner of the bankruptcy petition preparer.) (ReqUired
certification that the attorney has no knowledge after an inquiry that the information                           by II V.S.C § 110.)
In the schedules is incorrect.



                   Signature of Debtor (CorporationlPartnership)

I declare under penalty of perjury that the information provided in this petition is true                        Address
and correct, and that I have been authorized to file this petition on behalf of the                     X '..........
                                                                                                       '"    ·' - - - - - - - - - - - - - - - - - - - - - - ­
debtor                                                                              1'",; ~I   ,       ~,        l'
                                                                                       ,:ti' ·i ",:
The debtor requests the relief in accordance with the chapter of title II, United _                    ' Jt:
Code, specified in this petitio~.                                                 ",           '
                                                                                                                                           ptcy petition preparer or officer, principal, responsible person.
x                                                                                                                                      '~ocial-Security number is provided above
     SignaOJre ofAuthorized Itldivillual                                                                                               , ~;.,
                              ''''"     '.
                                                                                                                                       . ial-Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                                                                    , i . g this document unless the bankruptcy petition preparer is not an

     Title of Authorized Individual

     Date                                                                                                                              one person prepared this document, attach additional sheets
                                                                                                                                     the appropriate official form for each person.

                                                                                                        A bailJcfuptcy petition preparer 's failure to comply with the provisions of title II
                                                                                                        and th, F,deral Rules ofBankruptcy Procedure may result in fines or impnsonmenr
                                                                                                        or both. lJ U.S.c. lJO; 18 u.s.c. 156.




                                                                                                                 ~   ',: f .
                                                                                                   ,.                 .'
                                                                                                   i                 1'l
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B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                                                   Illinois
                                             Northern District of __________
                                            __________


          In re__________________________
                 Gerardo C. San Juan                                           Case No._____________
                                Debtor                                                   (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

       ’ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
           ✔



from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        ’ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
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                                              Document     Page 5 of 44




                                                                                                                                Page 2
  BID (Official Fonn 1, Exh, D) (12/09) - Cont.


         o 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seve ~n.,. .• daI.,"·~.".,j:,'~.'. m the time I made my request, and the
following exigent circumstances merit a temp~~ ~!\v..~ ofthe cx:edit counseling requirement
so I can file my bankruptcy case now. [Summarlze.d! entcircumstances here.]
                                                                 .}~r :~~~l ~~~'                   ~1
                                                                                                   ........- - - - - - - - - - - - ­




                                                        j         !



       If your certification is satisfactorytOJ i( ,        ou must still obtain the credit
counseling briefing within the first 30 daYS4ft~r '        e your bankruptcy petition and          I.
promptly file a certificate from the agency thaf~j,      "ed the counseling, together with a
copy of any debt management plan developed'thro hI'the agency. Failure to fulfill these
requirements may result in dismissal of your case.' Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling bri~tin~it:

       04. I am not required to receive a creditcoUll~eling briefing because of: [Check the
applicable statement.] [Must be accompan/~t!,b~a :r";/ i~r for determination by the court.]
                                                            <   .t!           ,                    1,




                     p
                    Incapacity. (Defined in                     ,(4) as impaired by reason of mental
         mn~ss i)r mental deficiency sO"as                     , izing and making rational
         decisions with respect to financial
                     o
                    Disability. (Defined          iri
                                             fIjI' ;         " ,4) as physically impaired to the
         extent of being unable, after reasona& ~::    ,rticipate in a credit counseling
         briefing in person, by telephone, or thiough"     "fernet.);
                 o Active military duty in a military         zone.           com 'at
                                                                                    :.~.,      ,


       05. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.c. § I09(h) does not apply in this district.

                                                                          I         "!"!f
                                                                          ,         hr','
       I certify under penalty of perjury that the ill/ormation provided above is true and
                                                                      •   I       . . ;'\'1'       .,.

correct.                                    ..:     :}f                             l.:f




            , ,~',
              ;;
                                        Date:
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B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                            Northern                 Illinois
                                            __________ District of __________


                   Elena M. San Juan
          In re__________________________                                       Case No._____________
                                Debtor                                                    (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

          ✔
          ’ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        ’ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
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                                                                                                                                                Desc Main
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                                                                                                                                                      Page 2
  BID (Official Form I, Exh. D)(I2I09)-Cont.

                                                                                                         H~
         o 3. I certify that I requested credit co .. se Ini6es from an approved agency but
was unable to obtain the services during the severt;a~     mthe time I made my request, and the   .
following exigent circumstances merit a temporatY "";1'r~: of the credit counseling requirement
so I can file my bankruptcy case now. (Summarite eX.iP:eftt circumstances here. 7




                                                                                      i~H. ,
                                                             .,       j:,             oi;J·
       If your certification is satisfactory to,t ~'icof'l.: ou must still obtain the credit
counseling briefing within the first 30 da ': W'I          1e our bankruptcy petition and
             'tnl"
                     a
promptly tile ¥.:' certificate
                     ,
                               from the age1t\
                                         •       ,'.-f
                                                             . 'he counseling, together with a                    lj'

copy of any debt management plan d~                            .;agency. Failure to fulfill these
requirements may result in dismissat'of:, .                     tension of the 30-day deadline
can be granted only for cause and is limit":'J\"~I;"':"     . ~m of 15 days. Your case may also
be dismissed if the court is not satisfied with:y~~~'      lIns for filing your bankruptcy case
without first receiving a credit counseling briefin

        a 4. I am not required to receive a credit counseling briefing because of:      [Check the
applicable statement.] [Must be            accompanied by a motion/or determination by the court.]

        ",           0 Incapacity. (Defined in           11 U.S.C. §W9(h)(4) as impaired by reason of mental
        illness or mental deficiency so as to be incapable of realizing and making rational
        decisions with respect to financial respon$ibil(H~s:);
                     o
                   Disability. (Defined in 11 U.S.C. § '1~9(h)(4) as physically impaired to the
        extent of being unable, after reasonabhfe
                                               p ' , ,0'   ", articipate in a credit counseling
        briefing in person, by telephone, or '
             ,,,,
                                                                  et.);                                       I


            :1, '
                     o
                   Active military duty in a,                     ne.

       05. The United States trustee or b                                                              '1               tor has determined that the credit
counseling requirement of 11 U.S.C. § 109(&):                                                 , .i.i
                                                                                                '<}'1
                                                                                                       ly in this district.
                                                                                                   ..,
                                                                      ,,:         I               "

       I certify under penalty of perjury that the in ormation provided above is true and I

correct.


                                      Signature of Debtor:                             'i:'~ ~
                                                                                      'I.':

                                      Date:     07/29/2013 " i



             ilic
             ,i
             Case 13-30700                  Doc 1        Filed 07/31/13 Entered 07/31/13 17:12:33                             Desc Main
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B6 Summar) (OffiCial Form 6 - Summary) (12/07)



                                            United States Bankruptcy Court
                                                 Northern               District Of             Illinois

In re      Gerardo C. San Juan                                                             Case No.
                                   Debtor
                                                                                           Chapter _,. 7           _


                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals li'om Schedules A. H. D. L. F. I.
and J in the boxes provided. Add the amounts from Schedules A and 13 to detcrmine the total amount of the debtor's assets. Add the amounts of all
claims from Schedules D. F.. and F to determine the total amount of the debtor's liabilities. Individual debtors also must complete the "Statistical
Summary of Certain Liabilities and Related Data" if they file a case under chapter 7. II. or 13.


                                                    ATTACHED
 :\AME OF SCHEDlLF:                                  (YES/NO)    1\0. OF SHEETS             ASSETS               LIABILITIES               OTHER

 i\ -   Real Proper!\                                                                  $
                                                    Y                1                     498,538
 B - Personal Pro pert)                                                                $
                                                    Y                3                      34,561
 C - Property Claimed
     as Exempt                                      Y               1
 0- Creditors Hold111g                                                                                      $
    Secured Claims                                  Y               1                                           723,016
 E - Creditors Holdmg Unsecured                                                                             $
     I'rJor;t\ Claulls
     (Total ot'C.'lamls on Schedule F)           Y                  2                                                     0
 F    - Creditors Hold111g Unsccurcd                                                                        $
        ~onpnorlt:   Clall11s
                                                    Y               5                                            84,009
 G - Executory Contracts and
     Unexpired Leases                                               1
                                                    Y
 H - Codebtors
                                                 Y                  1
 J-   Current Incomc of                                                                                                              $
      Ind"'ldual Dehlor(s)                       Y                  1                                                                    2,160
 .I - Current Expenditures of Individual                                                                                             $
       Dehtors(s)                                Y                 1                                                                     5,375
                                            TOTAL                                      $                    $
                                                                   17                      533,099              807,025
              Case 13-30700               Doc 1        Filed 07/31/13 Entered 07/31/13 17:12:33                               Desc Main
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Form 6 - Statistical Summary (12/07j


                                          United States Bankruptcy Court
                                                        Northern         District Of   Jlljnois
In rt:    Gerardo C. San Juan                      _                                         Cast: No.                        _
                                Dt:btor
                                                                                             Chapter      7         _

     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.c. § 159)
          I I' you are an individual debtor whose debts are primarily consumer debts. as defined in § ]() I(8) of the Bankruptcy Code (I I U.s.c.
§ 101(8)), filing a case under chapter 7, I lor 13. you must report all information requested below.

          o Check this box if you are an individual debtor whose debts are NOT primarily consumer dcbts. You are not required to rcport an)
infomlation here.

This information is for statistical purposes only under 28 U.S.C § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them,



  Type of Liability                                                     Amount

  Domestic Support Obligations (from Schedule E)                        $   0
  Taxes and Certain Other Debts Owed to Govemmental Units               $
  (from Scheduk L)                                                          0
  Claims for Death or Personal Injury While Debtor Was                  $
  Intoxicated (Irom Schedule E) (whether disputed or undisputed)            0
  Student Loan Obligations (from Schedulc F)                            $   54,383
  Domestic Support. Separation Agreement. and Divorce Decree            $
  Obligations Not Reported on Schedule ,.                                   0
  Obligations to Pension or Profit-Sharing, and Other Similar           $
  Obligations (trom Schedule F)                                             0
                                                            TOTAL       $   54,383

State the   ~0 II owmg:

  Average Income (trom Schedule L Line 16)                              $   2,160
  Average Expenses (trom Schedule J. Line 18)                           $   5,375
  Current Monthly Income (ti'om Form 22A Line 12: OR Fom]               $
  228 Line II: OR Form 22C Line 20 )                                        3,019

St a t e th e f 0 11 OWIO!!::

   I. Total from Schedule D, "UNSECURED PORTION, IF                                               $
   AN'\''' column                                                                                     0
   2. Total from Schedule E. "AMOUNT ENTITLED TO                        $
   PR10RlTY" column.                                                        0
   3. Total from Schedule I. "AMOUNT NOT ENTITLED TO                                              $
   PRIORITY, IF ANY" column                                                                           0
   4, Total from Schedule F                                                                       $ 84,009
   5. Total of non-priority unsecured debt (sum of L 3. and 4)                                    $ 84,009
         Case 13-30700                Doc 1         Filed 07/31/13 Entered 07/31/13 17:12:33                                   Desc Main
                                                     Document     Page 10 of 44
B6A (Official Form 6A) (12/07)

In re   Gerardo C. San Juan                                   _                                         Case '\0.                                    _
                    Debtor                                                                                                  (If known)


                                           SCHEDULEA-REALPROPERTY
    Except as directed below. list all real property in which the debtor has any legal, equitable. or future interest. including all property owned as a co­
tenant. community property. or in which the debtor has a life estate. Include any property in whieh the debtor holds rights and powers exercisahle for
the debtor's own henelit. If the dehtor is married. state whether the husband. wife. hoth. or the marital community own the property hy placing an "'H."
"'W:' "'.I." or "C" in the column laheled ··Hushand. Wit\:. Joint. or Community,'" If the dehtor holds no interest in real property. write "None'" under
"Description and Location 0 r Property:'

    Do not include interests in executor'Y contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
llncxpired Leases.

    Ifan entity claims to have a lien or hold a secured interest in any property. state the amount of the seeured claim. See Schedule D. Ifno entity claims
to hold a secured interest in the property. write '"None'" in the columnlaheled '"Amount of Secured Claim:'

    If the dehtor is an individual or ifajoint petition is tiled. state the amount ofany exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.



                                                                                     ....:­
                                                                                     :z
             DESCRIPTIOi' Ai'D                                                       Qj;;            CURRENT VALl:E                  AMOlI\TOF
               LOCATION OF                           :"ATlIRE OF DEBTOR'S            ~~                OF DEBTOR'S                    SECIIRED
                PROPERTY                            INTEREST I!\ PROPERTY            -~:E:
                                                                                        :E:            INTEREST I:"                    CLAI,"I
                                                                                        -0         PROPERTY, WITHOll'f
                                                                                     <::> <....>

                                                                                     ~~
                                                                                     ..,.,           DEDt:CTI:"G ANY
                                                                                     =>              SECl:RED CLAI"I
                                                                                     =                OR EXEI\IPTlO\l


  Single Family Residence                        Fee simple                                             221,050                       279,055

 4247 N. Western Ave.
 Chicago, IL
 2 Flat Residence                                Fee simple                                             272,038                        443,961
 4249 N. Western Ave.
  Chicago, IL




                                                                                 Total~            493,538
                                                                                 (Report also on Summary of Schedules.)
          Case 13-30700                    Doc 1          Filed 07/31/13 Entered 07/31/13 17:12:33                                  Desc Main
                                                           Document     Page 11 of 44
868 (Official Form 68) (12/07)

In re    Gerardo C. San Juan                                      _                                      Case :'\in.                               _
                       Debtor                                                                                                    (If known)


                                          SCHEDULE B - PERSONAL PROPERTY
           Fxcept as directed below. list all personal property of the debtor of whatever kind. Ifthc debtor has no propel1y in one or more ofthe categories.
place an "x" in the appropriate position in the column labeled "None:' If additional space is needed in any category. attach a separate sheet properly
identificd \\ith the case name. case number. and the number of the category. II' the debtor is married. state whether the husband. wi fe. hoth. or the marital
community own the property by placing an '"[I." '"W:' ".1:' or "C" in the column labeled '"I1usband. Wife. Joint. or Community."' If the debtor is an
individual or ajoint petition is liled. state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

           Do not list interests in executory contracts and unexpir'ed leases on this schedule. List them in Schedule G - Executor), Contracts and
li nexpir'ed Leases.

If the property is being held lor the debtor by someone else. state that person's name and address under "Description and Location of Propcrty:'
If the property is being held for a minor child. simply state the child's initials and tile name and address of the child's parent or guardian. such as
"A.B .. a minor child. by John Doe. guardian." Do not disclose the child's namc. Sec. II U.S.c. ~112 and Fed. R. 13ankr. P. J007(m).



                                                                                                                   ~
                                                                                                                                 CTRRE:\T VALUE OF
                                                                                                                                 DEBTOR'S INTEREST
                                                    N                                                              ~~
                                                                                                                   3=%
                                                                                                                                 IN PROPERTY, WITH­
          TYPE OF PROPERTY                          0             DESCRIPTION AND LOCATION                               ::>     OF" DEIKCTlNG ANY
                                                                                                                   g~
                                                    :'i                 OF PROPERTY                                «0              SEClIREIJ CLAL'"
                                                    E                                                              '"'   .....
                                                                                                                                    OR EXE:'ttl'T10:\
                                                                                                                   ~~
  I Cash on hand                                          Cash Money- 4247 N. Western Ave.                                             100
 2 Check mg. savings or other finan-
 Cial accounts. certificates of deposit                    Chase Cking Acct.- San Antonio, TX                      Jt.                1,051
 or shares in hanks. savings and loan.
 thrift. huild1l1g and loan. and home­                     Chase Savings Acct.- San Antonio, TX                    Jt.                  100
 stead assoclanons. or credit unions.
 brokerage houses. or cooperatives.                        Oak Trust Credit Union- Naperville, IL                  H                    326
 3. Security deposits with publiC util­
 ities. telephone companies. land­              x
 lords. and others.

 4. Household goods and fUrJlIShmgs.
 including audio. video. and computer
                                                           Misc. furniture, tv, computer,                                               400
 equipment.
                                                           utensils- 4247 N. Western Ave.
 5. Books: pictures and other an
 oblects: antiques: stamp. com.
                                                x
 record. tape. compact diSC. and other
 collections or collecnbles

 6 Wearing appard                                         Misc. clothes- 4247 N. Western Ave.                                           150
 7 Furs and Jcwelr\                                       Earrings, rings- 4247 N. Western Ave.                                         200
 8 Firearms and sports. photo­
 graphic. and other hobb\' equipment.           x
 9 Interests m insurance poliCies                         NY Life Ins. policy- Portsmouth, NH                                         9,016
                                                                                                                   W
 Name lIlsurancc company' of each
 pollcv and itemize surrender or                          NY LIfe Ins. policy- Portsmouth, NH                     H                   8,577
 refund value of each

 10. Annuities. Itemize and name
 each Issuer.                                   x
  II. Interests in an education IRA as
 defined in 26 USC ~ 530(b)( I) or under        x
 a qualilled State tuition plan as defined in
 26 U SC ~ 529(b)(I) Give particulars
 (File separately the record(s) of an\ ,"ch
 Interest( s) 11 USC ~521(c))
          Case 13-30700                      Doc 1         Filed 07/31/13 Entered 07/31/13 17:12:33            Desc Main
                                                            Document     Page 12 of 44
B6B (Official Form 6B) (12/07) -- Cont.



In re
           Gerardo
                 ,----
                       C. San Juan                                '                          Case '\0.                      _
                       Debtor                                                                               (If known)


                                            SCHEDULE B-PERSONAL PROPERTY
                                                                 (Continuation Sheet)

                                                                                                     !i      Cl 'RRE'JT VALlE OF
                                                                                                     ~      DEBTOR'S I:'iTEREST
                                                      '\                                             ~i:;    IN PROPERTY, WITU­
          TYPE OF PROPERTY                            0          DESCRIPTION AND LOCATION            ~~     011'1 DEIWCTING ANY
                                                      '\                OF PROPERTY                  fil
                                                                                                     40        SECliRED CUI't
                                                                                                     ""u
                                                                                                                OR EXEMPTIO,\
                                                      E                                              ~~

 12. Interests in IRA. ERISA, Keogh. or                                                              W             6,566
 other pension or profit shaflng plans.
                                                           Thorek 401(k) plan- Chicago, IL
 Give particulars
                                                           John Hancock pension- Portsmith, NH       W            307/mo.
 13 S[()ck and interests in Incorporated
 and unincorporated businesses                    x
 IlL'mlLe

 14. Inlerests In partnerships Oflolnt
 ventures. ltemiLe
                                                  x

 15. Government and corporate bonds
 and other negotiable and non­                    x
 negotiable instruments

 16. Accounts receivable
                                                  x
 17 Alimony. maintenance. support,
 and property settlements to \Vh ich the          x
 debtor is or may be entitled Give
 particulars

 I R. Other liqUidated debts owed to
 debtor 111cluding ta" refunds. Give              x
 particulars

 19. Equitable or future interests. lite
 estates, and fights or powers e"erclsable                 FL timeshare- Tallahasee, FL                             0
 for the benefit of the debtor other than
 those listed 111 Schedule i\- Real
 Property.

 211. Contingent and noncontl11gent
 I11terests In estale of a decedent. death        x
 benefit plan. Ilti: Insurance policy. or trust

 21. Other contl11gent and unliquidated
 claims of every nature. I11cl uding ta"          x
 refunds, counterclaims of the debtor, and
 fights to setotT claims Give estimated
 value of each.
             Case 13-30700                    Doc 1     Filed 07/31/13 Entered 07/31/13 17:12:33                                  Desc Main
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B6B (Official Form 6B) (12/07) -- Cont.

In re      Gerardo C. San Juan                                   _                                         Case No,                            _
                          Debtor                                                                                               (Ifknown)


                                              SCHEDULE B-PERSONAL PROPERTY
                                                                     (COllfinualiol1 Sheet)



                                                                                                                              ClRREIH \'\LUE OF
                                                                                                                              DEBTOR'S '''TEREST
                                                    N                                                                         I" PROPERTY, WITH­
             TYPE OF PROPERTY                       o          DESCRIPTIO" A"D LOCATION                                       OIIT DEDl'CTI'\G A:\'Y
                                                    N                OF PROPERTY                                                SEClRED CL.\I\I
                                                    E                                                                            OR EXEMPTIO"


 22 Patents. copynghts, and other
 intellectual property Give particulars
                                                x

 23 Licenses, franchises, and other general
 IIltanglbles GIVC particulars                  x

 24 Customer lists or other compilations
 contalll ing personally Identifiable           x
 mformaunn (as defined III II USC
  ~ 101 (41 A») provided to the debtor by
 IndiViduals in connection with obtainmg a
 product or semce from the debtor
 prllnarily for persnnal, family. nr
 househnld purposes

  25. Autmnoblks. trucks, trailers,
                                                        '98 Honda Civic- 4247 N. Western Ave. H                                    1,308
 and other vehicles and accessones

 2h     Boat~,   motors. and   JCLLSSorics.
                                                        '98 Acura Integra- 4247 N. Western Ave.                       H            1,660
                                                x       '04 Honda CRV- 4247 N. Western Ave.                           H            4,800
 '27 AlfCruft and     acceS~Oflc:S
                                                x
 28 OffIce eqUipment. furlltshlllgs,
 and supp! ies
                                                x

 29. Machll1ery. ft'\tures. equipment.
 and supplies used III busllless                x

 30 Ill\clltm,
                                                x
 31 Annnals
                                                x
 32 Crops - growing or harvested.
 Give particulars                               x

 33 Fannll1g equipment and Implements
                                                x
 34 Fann supplics, chemlc'lls, and fecd
                                                x
 35 Other persnnal property of all\ killd
 not alreadv listed Itemlzc                     x

                                                                0
                                                               _____contillualion shcets attached                Total"   $   34,561
                                                                         (Include amounts from an~' cont1l1Uatlon
                                                                         sheets attached Report total also all
                                                                                     Summary of Schedules)
           Case
B6C (Official Form13-30700
                   6C) (04/10)         Doc 1       Filed 07/31/13 Entered 07/31/13 17:12:33                           Desc Main
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                 Gerardo C. San Juan
In re ____________________________________________,                                               Case No. _________________________
                 Debtor                                                                                            (If known)


                        SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:        G Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                          $146,450.*
 G 11 U.S.C. § 522(b)(2)
 G✔
    11 U.S.C. § 522(b)(3)




                                                                                                                        CURRENT
                                              SPECIFY LAW                            VALUE OF                      VALUE OF PROPERTY
  DESCRIPTION OF PROPERTY                   PROVIDING EACH                           CLAIMED                       WITHOUT DEDUCTING
                                               EXEMPTION                            EXEMPTION                          EXEMPTION


 Cash Money                          735 ILCS 5/12-1001(b)                                               100                               100

 Chase & Oak Trust Accts.            735 ILCS 5/12-1001(b)                                            1,477                              1,477

 Misc furniture                      735 ILCS 5/12-1001(b)                                              400                                400

Misc. clothes                        735 ILCS 5/12-1001(a)                                                150                              150

Misc. jewelry                        735 ILCS 5/12-1001(b)                                               200                               200

NY Life Ins. policies                735 ILCS 5/12-1001(f)                                            17,593                            17,593

 Thorek 401(k) plan                  735 ILCS 5/12-1006(a)                                             6,566                             6,566


 Hancock pension plan                 735 ILCS 5/12-1006(a)                                        307/mo.                           307/mo.

 FL timeshare                        735 ILCS 5/12-1001(b)                                                  0                                    0

 '98 Honda Civic auto                735 ILCS 5/12-1001(b)                                            1,308                             1,308

 '98 Acura Integra auto               735 ILCS 5/12-1001(b)                                           1,660                             1,660

 '04 Honda CRV auto                   735 ILCS 5/12-1001(c)                                           4,800                            4,800

 Single Family Residence              735 ILCS 5/12-901(a)                                                 0                        221,050

 4247 N. Western Ave.

 Chicago, IL

 2 Flat Residential                   735 ILCS 5/12-1001(b)                                                0                         272,038

 4249 N. Western Ave.


* Amount subject to adjustment on 4/1/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
              Case 13-30700                 Doc 1               Filed 07/31/13 Entered 07/31/13 17:12:33                                       Desc Main
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    B6D (Official Form 6D) (12/07)
                          In re Gerardo C. San Juan                                                            Case No.
                                            Debtor                                                                                          (If known)

                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
               State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
    property of the debtor as of the dale of tiling of the petition. The complete account number of any account the debtor has with the creditor is useful
    to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors hokling all types of secured interests such as
    judgment liens. garnishments. statutory liens, mortgages, deeds of trust. and other security interests.
               List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
    address of the child's parent or guardian. such as "A.B .. a minor chi Id. by John Doe. guardian." Do not disclose the child's name. See. II U.s.c. § 112
    and Fed. R. Bankr. P. 1007(m). Ifall secured creditors will not tit on this page. use the continuation sheet provided.
               If any entity other than a spouse in a joint case may be jointly liable on a claim. place an "X" in the column labeled "Codebtor:' include the
    entity on the appropriate schedule of creditors. and complete Schedule H _. Codebtors. lfajoint petition is filed, state whether the husband. wife.
    both of them. or the marital community may be liable on each claim by placing an "H:' '·W." "J." or "C" in the column labeled "I lusband. WifC.
    Joint. or Community."
               If the claim is contingent. place an "X" in the column labeled "Contingent." If the claim is unliquidated. place an "X" in the column
    labeled "Unliquidated."' If the claim is disputed, place an "X" in the column labeled "Disputed."' (You may need to place an "X" in more than one of
    these three columns.)
               Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion. if Any" in the boxes
    labeled 'Total(s)" on the last sheet of the completed schedule. Report the total trom the column labeled "Amount of Claim Without Deducting Value
    of Collateral" also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
    labeled "Unsecured Portion, iI' Any" on the Statistical Summary or Certain Liabilities and Related Data.


              D           Check this box jf debtor has no creditors holding secured claims to report on this Schedule D.



       CREDITOR'S NAME AND
                                            IX
                                                   ...
                                                   ..l
                                                          ;..      DATE CLAI!\1 WAS           E-
                                                                                              Z
                                                                                                        O                 AMOUNT OF CLAIM                    I'NSECliRED
          MAILJ"IG ADDRESS
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                                                         0-
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     I"ICLUDING ZIP CODE AND
       AN ACCOl!NT NUMBER
         (See instructions Above.)
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                                                   !J)~"-             AI\D VALliE OF          0         :J        0                                                                I
                                            '-'    ~      ~                                             7-
I                                                  ::c                  PROPERTY              I.i       ;.,
                                                                   Sl"B.JECT TO L1E"I
    ACCOUNT NO.    4491                                          '11- 1st Mtg. lien on
    Chase                                                        Single Family Residence
    P.O. Box 78420                                               at 4247 N. Western Ave.                                      246,140                              0
    Phoenix, AZ 85062-8420
                                                                 VALUE S    221,050                 x
    ACCOUNT NO.
                     8098
                                                                 '10- HELOC on
    Chase                                                        Single Family Residence
                                                                                                                                 33,026                             0
    P.O. Box 9001020                                             at 4247 N. Western Ave.

    Louisville, KY 40290-1020                                     V:\LlIE $ 221,050                 x
    ACCOUNT NO.   6146                                           11- 1st Mtg. lien on
    Chase                                                        2 Flat residential
    P.O. Box 78420                                               at 4249 N. Western Ave.                                       443,961                              0
    Phoenix, AZ 85062-8420                                                                          x
r                                                                VALL:ES      272,038
     0  continuation sheets                                       Subtotal ~                                            $                                $
    --auachcd                                                     (Total of Ihis page)                                      723,016                  I       0
                                                                  Total ~                                               $ 723,016                        $ 0
                                                                  (lise only at) last page)
                                                                                                                        (Report also on Summary at       (It applicable. report
                                                                                                                        Schedules)                       also on Stallstlcal
                                                                                                                                                         Summary of Certain
                                                                                                                                                         LiabilIties and Related
                                                                                                                                                         Data I
              Case 13-30700              Doc 1        Filed 07/31/13 Entered 07/31/13 17:12:33                               Desc Main
                                                       Document     Page 16 of 44
B6E (Official Form 6E) (04/10)

                   Gerardo C. San Juan
          In re                                                    ,                                    Case No.
                                         Debtor                                                                              (if known)


        SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community."        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

■    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


 * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6E (Official Form 6E) (04/10) – Cont.


 In re
          Gerardo C. San Juan                                      ,             Case No.
                            Debtor                                                                    (if known)




    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                            0 continuation sheets attached
                                                           ____
              Case 13-30700                          Doc 1            Filed 07/31/13 Entered 07/31/13 17:12:33                                                Desc Main
                                                                       Document     Page 18 of 44
B6F (Official Form 6F) (12/07)
         Gerardo C. San Juan
In re -------------rDo-e-;"b"""7- - - - - - - - - -                                                                  Case No. ----------;O(i"f'k-n-o-w-n')----­
                                              t or


        SCHEDULE F - CREDITORS HOLDING UNSECURED NON PRIORITY CLAIMS
    State the name, mailing address, including Lip code, and last four digits of any account number. ofall entities holding unsecured claims without priority against
the debtor or the property of the debtor. as of the date of tiling of the petition. The complete account number of any account the debtor has with thc creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and thc name and
address ofthc child's parent or guardian. such as "A.B., a minor child, by John Doe, guardian." Do not d.isclose the child's namc. Sec, II use. ~ 112 and red.
R. Bankr. P. I007(m). Do not include claims listed in Schedules D and E. If all creditors will not tit on this page, use the continuation sheet provided.

    If any entity other than a spouse in ajoint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors. and completc Schedule I 1- Codebtors. II' ajoint pctition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W:' ".I:' or "C' in the column labeled "Husband, Wife, Joint. or Community."

     If the claim is contingent. place an "X" in the column labeled "Contingent." Iflhe claim is unliquidated, place an "X" in the column labeled "Unliquidated."
If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts. report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    D Ch ec k. tliS
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      CREDITOR'S NAME,
      MAILING ADDRESS                                e<::
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                                                                                    DATE CLAIM WAS
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                                                                                                                                                             AMOUNT OF
                                                                                                                                                               CLAIM
     INCLUDING ZIP CODE.
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    AND ACCOUNT NUMBER                               '-W      «-~                        CLAIM.                                       :J       :J
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  ACCOUNT NO       9773
 Chase Card Services                                                            2007- Consumer goods                                                          1,524
 P.O. Box 5153
 Wilmington, DE 19886-5153                                   W                                                                    x

 ACCOUNT NO         6306
 Home Depot                                                                     2003- Consumer goods                                                           756
 P.O. Box 790328
 St. Louis, MO 63179                                         H                                                                    x
 ACCOUNT NO        7641
United Recovery Systems LP                                                     Assignee of Home Depot
 5800 N. Course Dr.                                                            Acct.
 Houston, TX 77072                                           H                                                                    x
 ACCOUNT NO.       3823
American Education Services                                                    2004- Student loan                                                             27,855
P.O. Box 2461
Harrisburg, PA 17105-2461                                    Jt.                                                                  x
                                                                                                                                       Subtotal~         $   30,135
  4    continuation shects attached                                                                                                         Total~       $
 - -

                                                                                          (USConly on last page of the completed Schedule f.)
                                                                     (Report also on Summary of Schedules and. if applicable. on the Statistical
                                                                                           Summary of Certain Liabilities and Related Data.)
             Case 13-30700                  Doc 1             Filed 07/31/13 Entered 07/31/13 17:12:33                                                Desc Main
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B6F (Official Form 6F) (12/07) - Cont.


In re Gerardo C. San Juan                                                _                                Case No.                                                _
                    Debtor                                                                                                                     (if known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                               (Continuation Sheet)




                                                     u.i
     CREDITOR'S NAME.                                '"-'         >­            DATE CLAIM WAS                             ,...,                     AMOUNT OF
                                             0:::    ~O:::f-                                                    Z          tl;        a'-L:
                                                     ,...,.0 Z
                                             0                                    INCURRED AND                                                         CLAIM
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      MAILING ADDRESS                        f­                                                                 '-Ll       f­
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                                                                                      CLAIM.
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   AND ACCOUNT NUMBER                        0       «-~                                                        f:
         (See instructions above)            o
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 ACCOUNT NO       1951
                                                     ::c
                                                                                                                           -~
Sears Credit Cards                                                       2003- Consumer goods                                                           529
P.O. Box 183082
Columbus, OH 43218-3082                             W                                                                  x

 ACCOUNTNO        8117
Client Services, Inc.                                                    Assignee of Sears Acct.
3451 Harry S Truman Blvd.
St. Charles, MO 63301-4047                          W                                                                  x
 ACCOUNT NO      9414
Sam's Club Discover/GECRB                                                2003- Consumer goods                                                         5,352
P.O. Box 960013
Orlando, FL 32896-0013                              H                                                                  x
 ACCOUNT NO       1117
Capital One Bank, N.A.                                                   2003- Consumer goods                                                         8,528
P.O. Box 6492
Carol Stream, IL 60297-6492                         Jt.                                                                x
 ACCOUNT NO       E000
Marcos A. Lopez, M.D., S.C.                                              2011- Medical service                                                          205
P.O. Box 3305
Oak Brook, IL 60522-3305                            H                                                                  x
          1
 Sheet no _o!~   4 continuatIOn sheets attached                                                                                 Subtotal~        $
 to Schedule of Creditors Iioiding Unsecured
 Nonpnont\ Claims                                                                                                                                    14,614
                                                                                                                                   Total~        $
                                                                               (Use only on last page of the completed Schedule F)
                                                            (Report also on Summary of Schedules and. ifapplicable on the Statistical
                                                                                  Summary of Certain Liabilities and Related Data)
             Case 13-30700                  Doc 1             Filed 07/31/13 Entered 07/31/13 17:12:33                                                Desc Main
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B6F (Official Form 6F) (12/07) - Cont.


In re Gerardo C. San Juan                                                _                                Case No.                                                _
                    Debtor                                                                                                                     (if known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                               (Continuation Sheet)




                                                     u.i
     CREDITOR'S NAME.                                '"-'         >­            DATE CLAIM WAS                             ,...,                     AMOUNT OF
                                             0:::    ~O:::f-                                                    Z          tl;        a'-L:
                                                     ,...,.0 Z
                                             0                                    INCURRED AND                                                         CLAIM
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      MAILING ADDRESS                        f­                                                                 '-Ll       f­
    INCLUDING ZIP CODE.                      0::
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                                                                              CONSIDERA nON FOR                 v          «          f-
                                             '-L:    Z Z~
                                                                                      CLAIM.
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   AND ACCOUNT NUMBER                        0       «-~                                                        f:
         (See instructions above)            o
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                                                                             IF CLAIM IS SUBJECT TO             Z
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 ACCOUNT NO       L000
                                                     ::c
                                                                                                                           -~
Marcos A. Lopez, MD SC                                                   2008- Medical service                                                          672
P.O. Box 3305
Oak Brook, IL 60522-3305                            W                                                                  x

 ACCOUNTNO        S729
Chase Student Loans                                                      2004- Student loan                                                           26,528
P.O. Box 78044
Phoenix, AZ 85062-8044                              Jt.                                                                x
 ACCOUNT NO      6379
Walmart/GECRB                                                                                                                                           277
P.O. Box 530927                                                          2006- Consumer goods
Atlanta, GA 30353-0927                              H                                                                  x
 ACCOUNT NO

St. Elizabeth Hospital                                                   2013- Medical service                                                         1,014
1431 N. Western Ave.
Chicago, IL 60622                                   W                                                                  x
 ACCOUNT NO       5112
Illinois Collection Service, Inc.                                        Assignee of St. Elizabeth
P.O. Box 1010                                                            Hospital Acct.
Tinley Park, IL 60477-9110                          W                                                                  x
          2
 Sheet no _o!~   4 continuatIOn sheets attached                                                                                 Subtotal~        $
 to Schedule of Creditors Iioiding Unsecured
 Nonpnont\ Claims                                                                                                                                    28,491
                                                                                                                                   Total~        $
                                                                               (Use only on last page of the completed Schedule F)
                                                            (Report also on Summary of Schedules and. ifapplicable on the Statistical
                                                                                  Summary of Certain Liabilities and Related Data)
             Case 13-30700                  Doc 1            Filed 07/31/13 Entered 07/31/13 17:12:33                                                Desc Main
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B6F (Official Form 6F) (12/07) - Cont.


In re Gerardo C. San Juan                                               _                                Case No.                                                _
                    Debtor                                                                                                                    (if known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                              (Continuation Sheet)




                                                    u.i
     CREDITOR'S NAME.                               '"-'         >­            DATE CLAIM WAS                             ,...,                     AMOUNT OF
                                             0:::   ~O:::f-                                                    Z          tl;        a'-L:
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                                             0                                   INCURRED AND                                                         CLAIM
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      MAILING ADDRESS                        f­                                                                '-Ll       f­
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                                             '-L:   Z Z~
                                                                                     CLAIM.
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   AND ACCOUNT NUMBER                        0      «-~                                                        f:
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 ACCOUNT NO       8495
                                                    ::c
                                                                                                                          -~
Swedish Covenant Hospital                                               2013- Medical service                                                             57
7426 Solution Center
Chicago, IL 60677-7004                              H                                                                 x

 ACCOUNTNO        7749
Monique A. Anawis MD SC                                                 2012- Medical service                                                          40
P.O. Box 492
Skokie, IL 60076-0481                               W                                                                 x
 ACCOUNT NO      7905
Monique A. Anawis MD SC                                                 2012- Medical service                                                         613
P.O. Box 492
Skokie, IL 60076-0481                               H                                                                 x
 ACCOUNT NO       0137
SCH Laboratory Physicians                                               2013- Medical service                                                             17
Dept. 4353
Carol Stream, IL 60122-4353                         H                                                                 x
 ACCOUNT NO       L861
Midwest Diagnostic Pathology                                            2013- Medical service                                                             27
75 Remittance Dr., Ste. 3070
Chicago, IL 60675-3070                              W                                                                 x
          3
 Sheet no _o!~   4 continuatIOn sheets attached                                                                                Subtotal~        $
 to Schedule of Creditors Iioiding Unsecured
 Nonpnont\ Claims                                                                                                                                   754
                                                                                                                                  Total~        $
                                                                              (Use only on last page of the completed Schedule F)
                                                           (Report also on Summary of Schedules and. ifapplicable on the Statistical
                                                                                 Summary of Certain Liabilities and Related Data)
             Case 13-30700                  Doc 1             Filed 07/31/13 Entered 07/31/13 17:12:33                                                Desc Main
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B6F (Official Form 6F) (12/07) - Cont.


In re Gerardo C. San Juan                                                _                                Case No.                                                _
                    Debtor                                                                                                                     (if known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                               (Continuation Sheet)




                                                     u.i
     CREDITOR'S NAME.                                '"-'         >­            DATE CLAIM WAS                             ,...,                     AMOUNT OF
                                             0:::    ~O:::f-                                                    Z          tl;        a'-L:
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                                             0                                    INCURRED AND                                                         CLAIM
                                                     ...... '-. ......
      MAILING ADDRESS                        f­                                                                 '-Ll       f­
    INCLUDING ZIP CODE.                      0::
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                                                                                      CLAIM.
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   AND ACCOUNT NUMBER                        0       «-~                                                        f:
         (See instructions above)            o
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                                                                             IF CLAIM IS SUBJECT TO             Z
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 ACCOUNT NO       4718
                                                     ::c
                                                                                                                           -~
Midwest Imaging Professionals                                            2013- Medical service                                                           15
P.O. Box 371863
Pittsburg, PA 15250-7863                            W                                                                  x

 ACCOUNTNO

Flora Jadhav                                                             2013- Personal loan                                                         10,000
9 Pepper Tree Ln.
Topeka, KS 66611                                    Jt.                                                                x
 ACCOUNT NO




 ACCOUNT NO




 ACCOUNT NO




          4
 Sheet no _o!~   4 continuatIOn sheets attached                                                                                 Subtotal~        $
 to Schedule of Creditors Iioiding Unsecured
 Nonpnont\ Claims                                                                                                                                    10,015
                                                                                                                                   Total~        $
                                                                               (Use only on last page of the completed Schedule F)
                                                            (Report also on Summary of Schedules and. ifapplicable on the Statistical
                                                                                  Summary of Certain Liabilities and Related Data)                   84,009
Case 13-30700               Doc 1        Filed 07/31/13 Entered 07/31/13 17:12:33                                   Desc Main
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B6G (Official Form 6G) (12/07)

In re    Gerardo C. San Juan                              _                       Case No.                                 _
                    Debtor                                                                             (if known)


        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         Describe all executory contracts of any nature and all unexpired Icases of real or personal property. Include any timcsharc
    interests. State nature of debtor's interest in contract. i.e" "Purchascr," "Agenl.·' etc.· Statc \\hethcr dcbtor is the lessor nr
    lessce ora lease. Provide the namcs and complete mailing addresses of all othcr partics to each lease or contract dcscribed. If
    a minor child is a party to onc orthe leases or contracts. state the child's initials and the name and address orthc child's parent
    or guardian. such as ";\.fL a minor child, by John One, guardian." Do not disclose the chIld's name. Sec, II l:.S.C. ~ 112 and
    Fed. R. Rankr. P. 1007(m).


D Chcck this box if dcbtor has no executory contracts or unexpired Icases,

         NAME AND MAILING ADDRESS,                                      DESCRIPTION OF CO:'liTRACT OR LEASE A"lD
             I"ICLl'DING ZIP CODE,                                        NATl'RE OF DEBTOR'S I"lTEREST. STATE
   OF OTHER PARTIES TO LEASE OR CO"lTRACT.                               WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                            REAL PROPERTY. STATE CONTRACT
                                                                        "I1:MBER OF A'iY GOVER"IMENT CONTRACT.



    Errick Williams                                                  Residential lease
    4249 N. Western Ave.                                             01/01/2013 - 12/31/2013
    Chicago, IL 60625
          Case 13-30700                Doc 1        Filed 07/31/13 Entered 07/31/13 17:12:33                                  Desc Main
                                                     Document     Page 24 of 44
B6H (Official Form 6H) (12/07)

In re    Gerardo C. San Juan                           _                                          Case No.                                           _
                        Debtor                                                                                             (if known)


                                                   SCHEDULEH-CODEBTORS
    Provide the information requested concerning any person or entity. other than a spouse in a joint case. that is also liablc on any debts listed by the
debtor in the schcdules of creditors. Include all guarantors and co-signers. lfthc dcbtor resides or resided in a community propcrty state.
commonwealth. or territory (including Alaska. Arizona. California. Idaho. Louisiana. Nevada. New Mexico. Puerto Rico. Texas. Washington. or
Wisconsin) within thc eight-year period immediately preceding the commencement of the case. identil~v the name of the debtor's spouse and of any
fonner spouse who resides or resided with the debtor in the community prnperty state. commonwealth. or ten·itory. Include all names used by the
nondebtor spouse during the eight ycars immediately preceding the commencement or this case. II' a minor child is a codebtor or a creditor. state the
child's initials and the name and address or the child's parent or guardian. such as ";\.I~ .. a minor child. by John Doc. guardian." Do not disclose the
child's name. Sec. II liSe ill12 and Fed. R. Bankr. 1'. 1007(m).

D    Check this box ir debtor has no eodebtors.


               I\'AME AND ADDRESS OF CODEBTOR                                             ]\AME A:'IID ADDRESS OF CREDITOR


  April L. San Juan                                                            Chase Student Loans
  4247 N. Western Ave.                                                          P.O. Box 78044
  Chicago, IL 60618                                                            Phoenix, AZ 85062-8044
                                                                               American Education Services
                                                                               P.O. Box 2461
                                                                               Harrisburg, PA 17105-2461
                 Case 13-30700             Doc 1     Filed 07/31/13 Entered 07/31/13 17:12:33                                     Desc Main
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B61 (Official Form 61) (12/07)
     In re         Gerardo C. San Juan                       _                                     Case No.                                      _
                               Debtor                                                                                            (if known)


                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
    The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor. whether or not ajoint petition is
    fileu. unless the spouses are separateu and ajoint petition is not filed. Do not state the name of any minor child. The average monthly income
    calculateu on this form may differ from the current monthly income calculated on From 22A, 2213, or 22C.


      Debtor's Marital                                             DEPENDENTS OF [WHTOR AND SPOUSE
      Status:
            Married                RELATIONSHIP(S)                                                                               AGE(S)

      Employment:                                     DEBTOR                                                           SPOUSE
      Occupation                                                                         CNA
      Name or          L~mplOyer
                                        Unemployed                                       Thorek Memorial Hospital
        l    \   IlIII",
                                                                                         16 yrs.
      Address of Employer                                                                    850 W. Irving Park Rd.
                                                                                             Chicago, IL 60613

    INCOME: (Estimate of average or projected monthly income at time           DEBTOR                          SPOUSE
                 case filed)
                                                                               $     0                         $       2,450
    I. Monthly gross wages. salary. and commissions
        (Prorate ifnot paiu monthly)                                           $     0                         $       0
    2. Fstimate monthly overtime

    3. SU13TOTAL                                                                     0                                 2,450
                                                                               I$                                  $
    4. LESS PA YROLL DEDUCTIONS
       a. Payroll ta:\cs anu social security                                   $                               $       320
       b. Insurance                                                            $                               $       539
       c. Union uues                                                           $                               $
       u Other (Specif~ ):                                        _            $                               $

    5. SUBTOTAL OF PA YROLL DEDUCTIONS                                                   0                         $       859

    6. TOTAL NET MONTHL Y TAKE HOME PAY                                                  0                         $    1,591
                                                                               I :

    7. Regular income from operation of business or profession or farm      $        0                         $       0
         (Attach detailed statement)                                                 262                               0
    8. Income from real property                                            $                                  $
    9. Interest and uividends                                               $        0                         $       0
    10. Alimony. maintenance or support payments payable to the debtor f(1r          0                                 0
                                                                            $                                  $
           the debtor's use or that of dependents listed above
    II. Social security or government assistance
         (Specil~ )_-,----                                       _          $        0                         $       0
    12. Pension or retirement income
                                                                            $        0                         $       307
    13. Other monthly income
           (Specify):                                              _        $        0                         $       0

    14. SUBTOTAL OF LINES 7 THROUGII 13                                                  262                   $       307

     15. AVERAGE MONTHLY INCOME (Aud amounts on lines 6 anu 14)

    16. COMBINED AVERAGE MONTHLY INCOME: (Combinc column
                                                                               I:    262

                                                                                                   $   2,160
                                                                                                               $       1,898


    totals /i'om line 15)                                                      (Report also on Summary of Scheuules anu. i r applicable,
                                                                               on Statistical Summary of Certain Liabilities and Related Data)

    17. Describe any increase or decrease in income reasonably anticipated to occur within the year 1l1110wing thc filing of this document:
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B6J (Official Form 6J) (12/07)

               In re Gerardo C. San Juan                                         _                                         Case No.                                               _
                                     Debtor                                                                                                      (if known)


                SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete tillS schedule by estllnatll1g the average or projected monthly expenses of the debtor and the debtor's family at time case filed I'rorak any payments made b,­
weeki" quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
allowed on Fonn22A or 22C.

          Check this box ,falolnl pelition is filed and debtor's spouse maintallls a separate household Complete a separate schedule ofexpenditurL's labeled "Spousc"

  Rent or home mortgage payment (include lot rellted lor mobile home)                                                                                                2,131
     a. Arc real estate taxes II1cluded"                  Yes   x           No
     b Is property insurance IIlcludcd"                   Yes x             No
2. Utilities    a Electricity and heating fuel                                                                                                                   $   374
                b. Watcr and sewer                                                                                                                                  300
                                                                                                                                                                 $ -- ----_._­
                c. Telephone                                                                                                                                     $    260
                d.Other        Cable & Internet, Directv                                                               _                                         $ 347    ----        ---
3 Home maintenance (repairs and upkeep)                                                                                                                          $
4 Food                                                                                                                                                           $   300
  Clothlllg                                                                                                                                                      $     75
6. Laundry and dry cleaning                                                                                                                                      $     50
7 Medical and dental expenses                                                                                                                                   $      90
R Transportation (not Including car payments)                                                                                                                    $ 520
9 Recreation, clubs and entertainment. newspapers, magazines, ctc,                                                                                              $
10 Chalilable contributions                                                                                                                                      $     44
II Insurance (not deducted from wages or included in home mortgage payments)
          ,J   Homeowner's or renter's                                                                                                                              90
                                                                                                                                                                $ --_._._.---­
          b Lire                                                                                                                                                $
          c Health                                                                                                                                              $
          d Auto                                                                                                                                                 $ - 180
                                                                                                                                                                     ------
          e Other                                                                                              _                                                 $ _ .... __ .__. _ - ­

12 Taxes (not deducted trom wagcs or included in home mortgage paymcnts)
(Specify)                                                                                                          _                                            $
13 Installment payments. (In chaptcr 11.12, and 13 cases, do not list payments to be included           111   the plan)
          a Auto                                                                                                                                                $
          b Other      Student loans                                             _                                                                               $    614
          c.Other                                                                                 _                                                             $
14. Aillnony, mall1tenance. and support paid to others                                                                                                          $ -----
15 Payments for support of addilional dependents not living at your home                                                                                        $
16 Regular expenses from operation ofbusll1ess, profession. or farm (attach detaIled statement)                                                                 $
17. Other                                                                                                      _                                                $

I R. AVERAGE MONTHL Y EXPENSES (Total lines 1-17 Report also on Summary of Schedules and,                                                                       5,375
     If applicable, on the StatistICal Summary of Certain Ltabilities and Related Data)                                                                    I$
19. Describe any IIlcrease or decrease     III   expenditures reasonablY' anlicipated to occur within the vear following the tilin.g of this document



20 STATEMENT OF MONTHL Y NET INCOME
     a. AYerage monthly Income trom Line 15 of Schedule I                                                                                                       $2,160
     b Average monthlY expenses from 1,Ine I H above                                                                                                              5,375
                                                                                                                                                                $----­
     c. MonthlY net II1come (a mlllus b      i                                                                                                                  $(3,215)
                                                                                                                                                                  -----­
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 Fl6 Declaration IOfficial F",," 6· U«I"r.llolI)( 1"'07)

                        In re       Gerardo C. San Juan                                                _
                                                              Otbtor                                                                                                                                              (if known)




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                        ,", f
                                                                                                                                                        'l\i"
                                                                                                                                                        :rll.
                                                                  or:CI.ARATION UNDER rENAI.TY                                           or: I'ERJURY
                                                                                                                                                  ., BY IN DlVIOUAI. DEW! OR
    I d~lar~ under penally of ~rjllr: Ihal I l1ave read the foregoing summary                                                                                         '~sisting of 20            sheets.    ~nd Ihllt Ih~y are Iru~ alld ~or.'e~1 10 the besl ot
my knowledge. infonnation. and bcli~r.


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Dale
                    07/29/2013

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                                        OlCLARATION MiD SIGNATLRE OF NON·A·nORN.:Y BANKRllPTCY PETITION PREPARF:R (Sre II Ui.C. § 1101
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B7 (Official Form 7) (04/10)
                                   UNITED STATES BANKRUPTCY COURT


                        NORTHERN
                 ______________________________                     ILLINOIS
                                                DISTRICT OF _____________________________



       Gerardo C. San Juan
In re:_____ ___________________________________,                          Case No. ___________________________________
                          Debtor                                                               (if known)




                                     STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
§112 and Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.


                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

______________________________________________________________________________________________________
        1. Income from employment or operation of business

None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
            the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                        AMOUNT                                                      SOURCE
           2013- 18,177                                Thorek, Self
           2012- 5,701                                 Thorek, IDES, Self
           2011- 8,674                                 Thorek, IDES, Self
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                                                                                                                                        2

          2.   Income other than from employment or operation of business

None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the
✔         debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
          joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
          must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
          petition is not filed.)

                    AMOUNT                                                                   SOURCE




_____________________________________________________________________________________________________
        3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None

G         a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
          goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
          this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
          Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
          as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
          agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                   DATES OF            AMOUNT               AMOUNT
                                                              PAYMENTS            PAID                 STILL OWING
        See attached statement


None

G
✔         b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
          within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
          constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk
          (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
          filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
          not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF CREDITOR                             DATES OF                  AMOUNT              AMOUNT
                                                                   PAYMENTS/                 PAID OR             STILL
                                                                   TRANSFERS                 VALUE OF            OWING
                                                                                             TRANSFERS




          *
            Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or
after the date of adjustment.
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3.      Payments to creditors
a.      Individual or joint debtor(s) with primarily consumer debts: List all payments on loans,
installment purchases of goods or services, and other debts to any creditor made within 90 days
immediately preceding the commencement of this case unless the aggregate value of all
property that constitutes or is affected by such transfer is less than $600.

Name and                                            Amount                        Amount
Address of Creditor Date of Payments                Paid                          Still Owing

JPMorgan Chase      5,6,7/13                        $17,986                       $246,140
P.O. Box 9001020
Phoenix, AZ 85062-8420

JPMorgan Chase      5,6,7/13                        $28,192                       $443,961
P.O. Box 9001020
Phoenix, AZ 85062-8420
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                                                                                                                                      3
None

G
✔         c. All debtors: List all payments made within one year immediately preceding the commencement of this case
          to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
          include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                  DATE OF             AMOUNT               AMOUNT
               AND RELATIONSHIP TO DEBTOR                    PAYMENT             PAID                 STILL OWING




______________________________________________________________________________________________________


          4. Suits and administrative proceedings, executions, garnishments and attachments

None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
          preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
          information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
          and a joint petition is not filed.)

               CAPTION OF SUIT                                                   COURT OR AGENCY                STATUS OR
               AND CASE NUMBER               NATURE OF PROCEEDING                AND LOCATION                   DISPOSITION
JPMorgan Chase v. San Juan                 Foreclosure                            Circuit Court of Cook          Pending
13 CH 10824                                                                       County, IL



None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
✔         year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
          must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS                                                                       DESCRIPTION
               OF PERSON FOR WHOSE                           DATE OF                                  AND VALUE
               BENEFIT PROPERTY WAS SEIZED                   SEIZURE                                  OF PROPERTY



_____________________________________________________________________________________________________

          5.   Repossessions, foreclosures and returns

None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
✔         of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
          (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                        DATE OF REPOSSESSION,                         DESCRIPTION
               NAME AND ADDRESS                         FORECLOSURE SALE,                             AND VALUE
               OF CREDITOR OR SELLER                    TRANSFER OR RETURN                            OF PROPERTY



______________________________________________________________________________________________________
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        6.   Assignments and receiverships

None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
✔       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
        filed.)

                                                                                                      TERMS OF
             NAME AND ADDRESS                          DATE OF                                        ASSIGNMENT
             OF ASSIGNEE                               ASSIGNMENT                                     OR SETTLEMENT




None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
✔       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

                                            NAME AND LOCATION                                                   DESCRIPTION
             NAME AND ADDRESS               OF COURT                                       DATE OF              AND VALUE
             OF CUSTODIAN                   CASE TITLE & NUMBER                            ORDER                Of PROPERTY



______________________________________________________________________________________________________


        7.   Gifts

None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
✔       except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
        and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
        chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                    RELATIONSHIP                                                        DESCRIPTION
        OF PERSON                           TO DEBTOR,                      DATE                                AND VALUE
        OR ORGANIZATION                     IF ANY                          OF GIFT                             OF GIFT



_____________________________________________________________________________________________________

        8.   Losses

None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
✔       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)

        DESCRIPTION                    DESCRIPTION OF CIRCUMSTANCES AND, IF
        AND VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                                     DATE
        PROPERTY                       BY INSURANCE, GIVE PARTICULARS                                           OF LOSS




______________________________________________________________________________________________________
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                                                                                                                                    5


          9.   Payments related to debt counseling or bankruptcy

None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
          consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
          within one year immediately preceding the commencement of this case.

                                                        DATE OF PAYMENT,                    AMOUNT OF MONEY OR
          NAME AND ADDRESS                              NAME OF PAYER IF                    DESCRIPTION AND
          OF PAYEE                                      OTHER THAN DEBTOR                   VALUE OF PROPERTY
Steven E. Barleben                                        01/13                             1,500
3830 N. Ashland Ave.
Chicago, IL 60613
______________________________________________________________________________________________________
        10. Other transfers
None

✔          a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
          the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
          this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF TRANSFEREE,                                         DESCRIBE PROPERTY
          RELATIONSHIP TO DEBTOR                                                  TRANSFERRED AND
                                                                   DATE           VALUE RECEIVED


None

G
✔         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
          to a self-settled trust or similar device of which the debtor is a beneficiary.

          NAME OF TRUST OR OTHER                        DATE(S) OF                AMOUNT OF MONEY OR DESCRIPTION
          DEVICE                                        TRANSFER(S)               AND VALUE OF PROPERTY OR DEBTOR’S
                                                                                  INTEREST IN PROPERTY


______________________________________________________________________________________________________

          11. Closed financial accounts

None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
✔         closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
          checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
          held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
          institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
          instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
          separated and a joint petition is not filed.)

                                              TYPE OF ACCOUNT, LAST FOUR                               AMOUNT AND
          NAME AND ADDRESS                    DIGITS OF ACCOUNT NUMBER,                                DATE OF SALE
          OF INSTITUTION                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING




______________________________________________________________________________________________________
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        12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
✔      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                    NAMES AND ADDRESSES                DESCRIPTION          DATE OF TRANSFER
       OF BANK OR                          OF THOSE WITH ACCESS               OF                   OR SURRENDER,
       OTHER DEPOSITORY                    TO BOX OR DEPOSITORY               CONTENTS             IF ANY



______________________________________________________________________________________________________

       13. Setoffs

None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
✔       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                                                                    DATE OF                   AMOUNT
        NAME AND ADDRESS OF CREDITOR                                SETOFF                    OF SETOFF



_____________________________________________________________________________________________________

            14. Property held for another person

None    List all property owned by another person that the debtor holds or controls.
✔
        NAME AND ADDRESS                        DESCRIPTION AND
        OF OWNER                                VALUE OF PROPERTY                                  LOCATION OF PROPERTY




_____________________________________________________________________________________________________

        15. Prior address of debtor

None
G
✔       If debtor has moved within three years immediately preceding the commencement of this case, list all premises
        which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
        filed, report also any separate address of either spouse.

        ADDRESS                                 NAME USED                              DATES OF OCCUPANCY




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        16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
✔      years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

        NAME


______________________________________________________________________________________________________
        17. Environmental Information.

        For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.


None    a. List the name and address of every site for which the debtor has received notice in writing by a governmental
✔       unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
        governmental unit, the date of the notice, and, if known, the Environmental Law:

            SITE NAME                 NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
            AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE               LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
✔      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

            SITE NAME                 NAME AND ADDRESS                         DATE OF         ENVIRONMENTAL
            AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE          LAW




None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
✔       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
        to the proceeding, and the docket number.

            NAME AND ADDRESS                          DOCKET NUMBER                       STATUS OR
            OF GOVERNMENTAL UNIT                                                          DISPOSITION


______________________________________________________________________________________________________

        18 . Nature, location and name of business

None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
        and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
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             executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
             other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
             which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
             the commencement of this case.

                  If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                  and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                  the voting or equity securities, within six years immediately preceding the commencement of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                  and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                  the voting or equity securities within six years immediately preceding the commencement of this case.

                                  LAST FOUR DIGITS
                                  OF SOCIAL-SECURITY                                                                  BEGINNING AND
                  NAME            OR OTHER INDIVIDUAL                  ADDRESS        NATURE OF BUSINESS              ENDING DATES
                                  TAXPAYER-I.D. NO.
                                  (ITIN)/ COMPLETE EIN          4247 N. Western                  Travel Agent              2011-2012
                                                                Chicago, IL
Gerardo San Juan                             3205
   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
   ✔         defined in 11 U.S.C. § 101.

                  NAME                                      ADDRESS



   ______________________________________________________________________________________________________

              The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
   debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
   officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
   partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
   either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
   business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
   in business within those six years should go directly to the signature page.)

   _____________________________________________________________________________________________________


             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
   ✔         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

                  NAME AND ADDRESS                                                               DATES SERVICES RENDERED




   None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
   ✔         case have audited the books of account and records, or prepared a financial statement of the debtor.

                  NAME                                      ADDRESS                              DATES SERVICES RENDERED
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None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the
✔      books of account and records of the debtor. If any of the books of account and records are not available, explain.

            NAME                                                                         ADDRESS




None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
✔       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

                  NAME AND ADDRESS                                                             DATE ISSUED



________________________________________________________________________________________________

        20. Inventories

None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
✔       taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                              DOLLAR AMOUNT
                                                                                              OF INVENTORY
                  DATE OF INVENTORY               INVENTORY SUPERVISOR                        (Specify cost, market or other
                                                                                              basis)




None    b. List the name and address of the person having possession of the records of each of the inventories reported
✔       in a., above.

                                                                                              NAME AND ADDRESSES
                                                                                              OF CUSTODIAN
                  DATE OF INVENTORY                                                           OF INVENTORY RECORDS



____________________________________________________________________________________________________

        21 . Current Partners, Officers, Directors and Shareholders

None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
✔           partnership.

            NAME AND ADDRESS                         NATURE OF INTEREST              PERCENTAGE OF INTEREST




None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
✔           directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
            corporation.
                                                                                       NATURE AND PERCENTAGE
                 NAME AND ADDRESS                                TITLE                    OF STOCK OWNERSHIP




__________________________________________________________________________________________________
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                                                                                                                                10

        22 . Former partners, officers, directors and shareholders

None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
✔       preceding the commencement of this case.

            NAME                                           ADDRESS                    DATE OF WITHDRAWAL




None    b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
✔       within one year immediately preceding the commencement of this case.

                  NAME AND ADDRESS                              TITLE                          DATE OF TERMINATION



___________________________________________________________________________________________________

        23 . Withdrawals from a partnership or distributions by a corporation

None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
✔       including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
        during one year immediately preceding the commencement of this case.

                  NAME & ADDRESS                                                          AMOUNT OF MONEY
                  OF RECIPIENT,                            DATE AND PURPOSE               OR DESCRIPTION
                  RELATIONSHIP TO DEBTOR                   OF WITHDRAWAL                  AND VALUE OF PROPERTY




___________________________________________________________________

        24. Tax Consolidation Group.

None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
✔       consolidated group for tax purposes of which the debtor has been a member at any time within six years
        immediately preceding the commencement of the case.

            NAME OF PARENT CORPORATION                     TAXPAYER-IDENTIFICATION NUMBER (EIN)



_____________________________________________________________________________________________________

        25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
✔      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

            NAME OF PENSION FUND                      TAXPAYER-IDENTIFICATION NUMBER (EIN)




                                                        * * * * * *
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                                                                                                                                                                                         11
                                                                   .'   .,

            [Ifcompleted by an individual or individual ;/

            I declare under penalty of peIjury that I have read ,thb .                                                    ed in the foregoing statement of fmancial affairs
            and any attachments thereto and that they are tnle lind '
                                                                                        I




                                                                                                                                  ~
                                                                                       ,)""


             Date             07/29/2013
                                                                                            . SigDatUre
                                                                                              ofDebtor                                                       (:s;,.,£J
                                                                                              Signature of

                                                                                                                                     6h~
                                                                                              Joint Debtor
             Date             07/29/2013                                                       (ifati,)
                                                                                                   I!"
                                                                                                  I,4i,,'
                                                                                                      '1 ': ,,~   .




            {Ifcompleted on behalfofa partne,.hip or corparatlOll]
                                                                    j
            I declare UDder pcnaIty of perjury that I have read the                                                         'ing mtement of financial affairs and any attachments
            thereto and that they are true and correct to the bestof                                                           belief
                          ~                                        ~I   ,j.




             Date




                         [An individual signing on behalf of a partnership or COrporatioD~ indicate position or relationship to debtor]
                                                                                                          "

                                                                   _continuation sheets attached

                 Ponal'Yfar making ofolse s'alemenl. Fine ofup     '0 S500,OOO or Imprl,o~~forllp 10 5 years, or both.                       18 USc. §§ 152 and 35?I
                                                                                                      ,    .
                                                                                   ;    L             ,;t.t ~
            DECLARATION AND SIGNATURE OF NON-ATIORN!Y BANKtttlPTCY PETITION PREPARER (See II V.S.c. § 110)
                                                                                       ,it:                .
   I declare under penalty of perjury that: (I) I am a bankruptcy petition         tXtP. as                           lh 11 U.S.c. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy oflhis do          ':811                 ' ."                     information required under II U.S.c. §§ 110(b), lIO(h), and
342(b); and, (3) if rules or guidelines have been promulgated p            " ,                                             'ng a maximum fee for services chargeable by bankruptcy
petition preparen; I have given the debtor notice ofthe maximmn                                                          , . ument for filing for a debtor or accepting any fee from
the debtor, as f1lCI1#red by that section.                    .: "




                                                                                                                  .. , Security No. (Required by II V.S.C. § 110.)
                                                                              ,      ..~,!;,;
If the bankruptcy petItion preparer is not an indiVidual, state the name, tltl, (ifrmy),  ,,'i, OIId SOcial-security number ofthe officer, prinCipal,
responsible person, or partner who signs this document.                                 "';;r:'

  Address


  Signature of Bankruptcy Petition Preparer                                                               ,Date
                                                                                                      \ht
Names and Social-Security numbers of all other individuals who prepared or ~sjsted ~reparing this document unless the bankruptcy petition preparer
                                                                                                      iri                                                                           IS
not an individual:                                                           .    :1·'"
If more than one person prepared this document, attach additional sign
                                                                                                      :V              to, the appropriate Official Fonn for each person
                     •                                                        j'                                      "(i
A banknlptcy pdttlon prtparer'sfaliure to comply with thtp                                                                  tderal Ru/a ofBallkruptcy Procedure may result in
jina or/mprtsffijr:m't bpth. 18 U.S.C § 156.         .i~. ~I ••
                    ,.                                        ,l

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B 8 (Official Form 8) (12/08)


                                UNITED STATES BANKRUPTCY COURT
                                           __________  District
                                            Northern District of of __________
                                                                 Illinois
        Gerardo C. San Juan
In re ____________________________,                                              Case No. ___________________
                      Debtor                                                                 Chapter 7

             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                            Describe Property Securing Debt:
                                 Chase                       Single Family Residence- 4247 N. Western Ave.

 Property will be (check one):
     ’ Surrendered                              ✔ Retained
                                                ’

 If retaining the property, I intend to (check at least one):
       ’ Redeem the property
       ’ Reaffirm the debt
       ✔ Other. Explain ________________________________
       ’                     Loan Modification                (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     ✔ Claimed as exempt
     ’                                                     ’ Not claimed as exempt

 Property No. 2 (if necessary)

 Creditor's Name:                                            Describe Property Securing Debt:
                                 Chase                       Single Family Residence- 4247 N. Western Ave.

 Property will be (check one):
     ’ Surrendered                              ✔ Retained
                                                ’

 If retaining the property, I intend to (check at least one):
       ’ Redeem the property
       ’ Reaffirm the debt
       ✔ Other. Explain ________________________________
       ’                             Loan Modification        (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     ✔ Claimed as exempt
     ’                                                     ’ Not claimed as exempt
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                                               ,I·i~·,~~ ;~~t;~·
                                                            ·'H'
PART B - Personal property subject to unexpired. ~ase ~ 1'An three columns ofPart B must be completedfor
each unexpired lease. Attach additional pages ijnecessary} ; i~

 Property No.1;;
                 ,       1!   ~




 Lessor's Name: '                                                                                     Lease will be Assumed pursuant
                                                                                                      to 11 U.S.C. § 365(P)(2):
                                                                                                       o   YES        0 NO

 Property No.2 (ifnecessary)
                                                                                     !~~.'i'

 Lessor's Name:                                   Describe Leased Property:                           Lease will be Assumed pursuant
                                                                                                      to 11 U.S.C. § 365(p)(2):
                                                                                                      o  YES          0 NO


 Property No.3 (ifnecessary)
                                                                                      ., t

 Lessor's Name:                                   Describe Leased Property:                           Lease will be Assumed pursuant
                                                                     I::;'       .jr~                 to 11 U.S.C. § 365(p)(2):
                                                                                                      o  YES          0 NO


-1- continuation
           ..... -'­ sheets attached (ifany)
                     ;




I declare under penalty of perjury that the..                   .                                 intention as to any property of my
estate securing a debt and/or personal property           sa                                   nexpired lease.

                                                                             i   J




Date: _ _0_7/_2_9/_2_0_13_ _
                                                  G.~L.--)!_i;'4J
                                                               __
                                                 Signature of Debtor




                     Ill'         ,I
                     \fa           ~.
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             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                 (Continuation Sheet)

PART A - Continuation

 Property No.       2
 Creditor's Name:                                           Describe Property Securing Debt:
                                Chase                       2 Flat residence- 4249 N. Western Ave.

 Property will be (check one):
     ’ Surrendered                           ✔ Retained
                                             ’

 If retaining the property, I intend to (check at least one):
       ’ Redeem the property
       ’ Reaffirm the debt
       ✔ Other. Explain ________________________________
       ’                             Loan Modification        (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     ✔ Claimed as exempt
     ’                                                    ’ Not claimed as exempt


PART B - Continuation

 Property No.

 Lessor’s Name:                             Describe Leased Property:      Lease will be Assumed pursuant
                                                                           to 11 U.S.C. § 365(p)(2):
                                                                           ’ YES           ’ NO

 Property No.

 Lessor’s Name:                             Describe Leased Property:      Lease will be Assumed pursuant
                                                                           to 11 U.S.C. § 365(p)(2):
                                                                           ’ YES           ’ NO




  Reset                                                                       Save As...               Print
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                          United States Bankruptcy Court
                                 Northern             District Of              Illinois


In re      Gerardo C. San Juan

                                                                           Case No.

Debtor                                                                     Chapter -7- - - -


              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.s.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above­
   named debtor(s) and that compensation paid to me within one year before the filing of the petition in
   bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s)
   in contemplation of or in connection with the bankruptcy case is as follows:

     For legal services, I have agreed to accept                                                     $
                                                                                                         1,500           _

     Prior to the filing of this statement I have received                                           $   1,500           _

     Balance Due                                                                                     $
                                                                                                         0               _

2. The sou rce of the com pensati on paid to me was:

             D Debtor
              ✔
                                      D Other (specify)
3. The source of compensation to be paid to me is:

             DDebtor                 D   Other (specify)

4.   D✔   I have not agreed to share the above-disclosed compensation with any other person unless they are
          membersand associates of my law firm.

     D    I have agreed to share the above-disclosed compensation with a other person or persons who are not
          members or associates of my law firm. A copy of the agreement, together with a list of the names of
          the people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether
        to file a petition in bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representati on of the debto r at the meeti ng of cred itors and confi rm ation heari ng, and any adj ou rn ed
        heari ngs thereof;
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   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


   d. Reprerentation of the debtor in adversary proceedings and other contesed bankruptcy matters;

   e. [Other provisions as needed]

      Negotiations with secured creditors for reaffirmations; exemption planning; preparation

     and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance on household

     goods.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

   Negotiations with secured creditors for modifications; redemptions under 11 USC 722;

   representation of the debtor in any dischargability actions; judicial lien avoidances; relief

   from stay actions; any adversary proceeding amendments; enforcement of stay violations.




                                              CERTIFICATION



        I certify that the foregoing is a complete statement of any agreement or arrangement for
     payment to me for representation of the debtor(s) in this bankruptcy proceedings.


        07/29/2013                            Steven E. Barleben /s/
               Date                                        Sgnature of Attorney


                                              Law Office of Steven E. Barleben
                                                           Name of law firm
